Case 3:11-cr-04153-WQH       Document 575        Filed 11/13/12   PageID.2235     Page 1 of 3



   1
   2
   3
   4
   5
   6
   7
   8                          UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10
  11    UNITED STATES OF AMERICA,                             CASE NO. 11CR4153WQH
  12                                       Plaintiff,         ORDER
             vs.
  13    ROBERT COTA, JR. (10),
  14                                    Defendant.
  15   HAYES, Judge:
  16         The matter before the Court is the motion to suppress statements filed by Defendant
  17   Robert Cota, Jr. (ECF No. 137-2).
  18                                 FACTUAL BACKGROUND
  19         On September 15, 2011, a federal grand jury in the Southern District of California
  20   returned an indictment charging the Defendant with conspiracy to distribute methamphetamine
  21   in violation of 21 U.S.C. §§ 841(a)(1) and 846.
  22         On September 22, 2011 at approximately 6 a.m., Defendant was arrested pursuant to
  23   an arrest warrant. At approximately 7:15 a.m., Defendant was interviewed by Special Agents
  24   of the Department of Homeland Security, Immigration and Customs Enforcement.          After
  25   obtaining the Defendant’s biographical information, the agent read the Defendant his Miranda
  26   rights and handed the Defendant a pre-printed Miranda waiver form. Defendant told the agent
  27   that he could not read. The agent took the form back and read the form to the Defendant.
  28   Defendant told the agent that he understood his rights and was willing to be interviewed. At


                                                        -1-                              11cr4153WQH
Case 3:11-cr-04153-WQH        Document 575       Filed 11/13/12    PageID.2236      Page 2 of 3



   1   approximately 8:25 a.m., Defendant signed a written Miranda waiver form. (ECF No. 168-1).
   2   Defendant’s statement was videotaped. Due to technical malfunction, no audio was captured
   3   on the recording. The video shows the entire interview including, the positioning of the agents
   4   and the Defendant, the Defendant signing the Miranda waiver form, and the conduct of the
   5   agents and the Defendant throughout the interview.
   6                             CONTENTIONS OF THE PARTIES
   7          Defendant contends that the Government must satisfy its burden to demonstrate that
   8   sufficient Miranda warnings were given, and that he knowingly and intelligently waived his
   9   rights. Defendant asserts that his statements were not voluntary. Defendant asserts that the
  10   Court should conduct an evidentiary hearing to determine whether his statements should be
  11   admitted into evidence.
  12          The Government contends that Defendant made a knowing and voluntary waiver of his
  13   Miranda rights and that his post-arrest statements were otherwise voluntary. The Government
  14   asserts that the Court should deny the Defendant’s motion to suppress without an evidentiary
  15   hearing on the grounds that the Defendant has not alleged any facts that would support
  16   suppression of his statements.
  17                                      APPLICABLE LAW
  18          In order for inculpatory statements made by a defendant during custodial interrogation
  19   to be admissible in evidence, the defendant’s “waiver of Miranda rights must be voluntary,
  20   knowing, and intelligent.” United States v. Binder, 769 F.2d 595, 599 (9th Cir. 1985). In order
  21   to be knowing and intelligent, “the waiver must have been made with full awareness of both
  22   the nature of the right being abandoned and the consequences of the decision to abandon it.”
  23   Moran v. Burdine, 475 U.S. 412, 421 (1986). There is a presumption against waiver. North
  24   Carolina v. Butler, 441 U.S. 369, 374-75 (1979). The Government bears the burden of
  25   establishing the existence of a valid waiver of Miranda rights. Id. The validity of a waiver
  26   depends upon the particular facts and circumstances of the case, including the background,
  27   experience and conduct of the defendant. Edwards v. Arizona, 451 U.S. 477, 482 (1981).
  28   “Several factors to consider are (i) defendant’s mental capacity; (ii) whether the defendant


                                                    -2-                                     11cr4153WQH
Case 3:11-cr-04153-WQH        Document 575       Filed 11/13/12     PageID.2237      Page 3 of 3



   1   signed a written waiver; (iii) whether the defendant was advised in his native tongue or had a
   2   translator; (iv) whether the defendant appeared to understand his rights; (v) whether the
   3   defendant’s rights were individually and repeatedly explained to him; and (vi) whether the
   4   defendant had prior experience with the criminal justice system.” United States v. Crews, 502
   5   F.3d 1130, 1140 (9th Cir. 2007).
   6          “In evaluating voluntariness, the ‘test is whether, considering the totality of the
   7   circumstances, the government obtained the statement by physical or psychological coercion
   8   or by improper inducement so that the suspect's will was overborne.’” United States v. Male
   9   Juvenile, 280 F.3d 1008, 1022 (9th Cir.2002) (quoting Derrick v. Peterson, 924 F.2d 813, 817
  10   (9th Cir.1991)).
  11                                   RULING OF THE COURT
  12          In this case, the record contains the video showing the actions of the agents and the
  13   Defendant throughout the interview and the Miranda waiver form signed by the Defendant.
  14   This evidence is sufficient to carry the Government’s burden to show that the Defendant was
  15   informed of his Miranda rights and the validity of his waiver. The video shows the Defendant
  16   sitting at a desk with the two agents sitting on chairs in the room. The video shows the
  17   Defendant signing the Miranda waiver form, the agents questioning the Defendant, and the
  18   Defendant responding. Defendant has not submitted an affidavit or otherwise designated any
  19   facts that would contest the facts set forth by the Government or support his motion to suppress
  20   statements on the grounds of a Miranda violation. At this stage in the proceedings, the Court
  21   will deny the motion to suppress statements with leave to refile in order to set forth “specific
  22   facts sufficient to require the granting of the Defendant’s motion.” United States v. Batiste,
  23   868 F.2d 1089, 1093 (9th Cir. 1989). See also Local Rule 47.1(b)(4).
  24          IT IS HEREBY ORDERED that the motion to suppress statements filed by Defendant
  25   (ECF No. 137-2) is denied without prejudice.
  26   DATED: November 13, 2012
  27
                                                    WILLIAM Q. HAYES
  28                                                United States District Judge


                                                    -3-                                      11cr4153WQH
